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 EXHIBIT 2         Excerpts from Deposition Transcript of Plaintiff
                   Justin Guy

 EXHIBIT 3         Excerpts from Deposition Transcript of Opt-In
                   Plaintiff Keith Brown

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 EXHIBIT 5         Excerpts from Deposition Transcript of Opt-In
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 EXHIBIT 6         U.S. Department of Labor Technical Report dated
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